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 9   Counsel for Plaintiff and the Proposed Class
10                                UNITED STATES DISTRICT COURT
11                      FOR THE NORTHERN DISTRICT OF CALIFORNIA

12                                       SAN FRANCISCO DIVISION

13
     MICHAEL ELLIOTT JESSUP, individually                  Case No. 22-cv-07666-JSC
14   and on behalf of all others similarly situated,
                                                           PLAINTIFF’S CERTIFICATION OF
15                             Plaintiff,                  INTERESTED ENTITIES OR PERSONS
             v.                                            PURSUANT TO CIVIL L.R. 3-15
16

17   SAMUEL BANKMAN-FRIED, an individual,
     CAROLINE ELLISON, an individual,
18   NISHAD SINGH, an individual, GARY
     WANG, an individual, and SAM
19   TRABUCCO, an individual,

20                             Defendants.

21

22          Pursuant to Civil L.R. 3-15, the undersigned certifies that no other persons, associations of

23   persons, firms, partnerships, corporations (including parent corporations) or other entities aside

24   from the undersigned, the proposed class, and proposed class counsel (i) have a financial interest

25   in the subject matter in controversy or in a party to the proceeding, or (ii) have a non-financial

26   interest in that subject matter or in a party that could be substantially affected by the outcome of

27   this proceeding.

28

     PLF’S CERTIFICATION OF INTERESTED                  -1-                       CASE NO. 22-CV-07666-JSC
     ENTITIES OR PERSONS
         Case 3:22-cv-07666-JSC Document 13 Filed 12/20/22 Page 2 of 2



 1                                       Respectfully submitted,
 2                                       MICHAEL ELLIOTT JESSUP, individually and
                                         on behalf of all others similarly situated,
 3

 4
     Dated: December 20, 2022              By: /s/ P. Solange Hilfinger-Pardo
 5

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14                                       Counsel Plaintiff and the Proposed Class

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     PLF’S CERTIFICATION OF INTERESTED      -2-                      CASE NO. 22-CV-07666-JSC
     ENTITIES OR PERSONS
